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                        UNITED STATES DISTRICT COURT

                                DISTRICT OF MAINE

__________________________________________
                                          )
GRACIANO INC., JOSE GRACIANO, and         )
THAI LOTUS RESTAURANT,                    )
                                          )
            Plaintiffs                    )
                                          )
      v.                                  )                 Case No. 2:20-cv-________
                                          )
KHONE SANASY, AER SENESOMBATH (a/k/a )
AE SENESOMBATH and SUI SENESOMBATH), )
SOURASAY SENESOMBATH, ASIAN CAFE, )
ANIMA NIKONTHET, THAI & I                 )
CORPORATION, and ACHARA WEYDT,            )
                                          )
            Defendants                    )
__________________________________________)


                                     COMPLAINT

       NOW COME Plaintiffs Jose Graciano, Graciano Inc., and Thai Lotus Restaurant,

by and through their undersigned counsel, and hereby complain against Defendants

Khone Sanasy, Aer Senesombath, Sourasay Senesombath, Asian Cafe, Anima Nikonthet,

Thai & I Corporation, and Achara Weydt, as follows:

                                     THE PARTIES

       1.      Plaintiff Graciano Inc. (“Graciano Inc.”) is a Maine business corporation

with a principal place of business in the Town of Kittery, County of York and State of

Maine. Graciano Inc. was formed for the purpose of operating the Thai Lotus Restaurant

(“Thai Lotus”), a Thai food restaurant located at 340 U.S. Route 1 in Kittery, Maine.

Graciano Inc. is a partner in the Thai Lotus Restaurant.




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         2.    Plaintiff Jose Graciano (“Graciano”) is an individual residing in the Town

of Waterford, County of New London, and State of Connecticut. Graciano is the

president and sole shareholder of Graciano Inc. Graciano is also a partner in the Thai

Lotus Restaurant.

         3.    Plaintiff Thai Lotus Restaurant (“Thai Lotus”) is a partnership formed

under Maine law for the purpose of owning and operating a restaurant in Kittery, Maine

for profit, and at all pertinent times hereto maintained its principal place of business in

Kittery, Maine. Thai Lotus was formed as a partnership between and among its three

partners, Graciano Inc., Jose Graciano, and Khone Sanasy, whether by express or implied

intent including, without limitation, intent implied by the course of conduct of those three

partners.

         4.    Defendant Khone Sanasy (“Sanasy”) is an individual residing in the Town

of Kittery, County of York, and State of Maine. Defendant Sanasy is the mother of

Defendants Aer Senesombath and Sourasay Senesombath. Defendant Sanasy also

sometimes goes by the name of Khone Senesombath. Sanasy is a partner in the Thai

Lotus.

         5.    Defendant Aer Senesombath, also sometimes known as AE Senesombath

and Sui Senesombath (“Aer Senesombath”) is an individual residing in the City of

Portland, County of Cumberland, and State of Maine. Defendant Aer Senesombath is the

son of Defendant Sanasy. Defendant Aer Sanasy sometimes worked at the Thai Lotus.

         6.    Defendant Sourasay Senesombath (“Sourasay Senesombath”) is an

individual residing in the Town of Winslow, County of Kennebec, and State of Maine.




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Sourasay Senesombath is an operator and/or manager of the Asian Cafe. Defendant

Sourasay Senesombath is the son of Defendant Sanasy.

       7.      Defendant Asian Cafe (“Asian Cafe”) is Maine business corporation with

a principal place of business in the Town of Winslow, County of Kennebec, and State of

Maine. Defendant Asian Cafe is the owner of an Asian food restaurant located at 53 Bay

Street in Winslow, Maine.

       8.      Defendant Anima Nikonthet (“Nikonthet”) is an individual residing in the

Town of Winslow, County of Kennebec, and State of Maine. Upon information and

belief, Nikonthet is the president and sole shareholder of the Asian Cafe.

       9.      Defendant Thai & I Corporation (“Thai & I”) is a Maine business

corporation with a principal place of business in Kittery, Maine.

       10.     Defendant Achara Weydt is an individual residing in the Town of

Boylston, County of Worcester, and Commonwealth of Massachusetts. Weydt is the

president and sole shareholder of Thai & I.

                                JURISDICTION & VENUE

       11.     Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) because one

or more of the Defendants resides or maintains a principal place of business in this

judicial district, and because a substantial part of the events and omissions giving rise to

the claims set forth herein occurred.

       12.     This Court has original subject matter over the racketeering claims set

forth in this Complaint pursuant to 28 U.S.C. § 1331 because they arise under the laws of

the United States. Pursuant to 28 U.S.C. § 1367(a), this Court has supplemental subject

matter jurisdiction over the state law claims of conversion, intentional misrepresentation,



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negligent misrepresentation, promissory estoppel, unjust enrichment, and civil conspiracy

because those claims are so related to the federal racketeering claims that they form part

of the same case or controversy.

       13.     This Court has original subject matter over the federal trademark

infringement claims set forth in this Complaint pursuant to 28 U.S.C. § 1331 because

they arise under the laws of the United States.

       14.     This Court has personal jurisdiction over the Defendants because each

Defendants has or has had minimum contacts with the State of Maine sufficient to enable

this Court to assert jurisdiction over their person consistent with the requirements of the

United State Constitution and other governing authority.

                                            FACTS

       15.     This lawsuit arises primarily out of a scheme orchestrated by Defendants

to defraud, embezzle, steal, and seize control of a restaurant enterprise from Graciano and

Graciano Inc. (hereinafter sometimes collectively referred to as the “Graciano

Plaintiffs”), and from Plaintiff Thai Lotus, a partnership formed by operation of law to

own and operate that business enterprise.

       16.     At all times pertinent to this Complaint, Graciano was residing primarily

in Connecticut, while Sanasy was residing primarily in Maine.

       17.     In June of 2014, while Plaintiff Graciano and Sanasy were in a romantic

relationship together, Sanasy offered to help Graciano open a Thai restaurant in Southern

Maine. Graciano agreed to pay Sanasy the sum of $20,000.00 in exchange for her

assistance in opening and operating a Thai restaurant. As additional consideration,

Graciano agreed to cover all Sanasy’s housing and other basic living expenses during the



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time that she helped to open and operate a restaurant for him. Sanasy agreed to assist

Graciano with opening and operating his restaurant in exchange for this consideration.

       18.     On June 12, 2014, Graciano paid Sanasy the sum of $20,000.00 in

exchange for her assistance in opening and operating a Thai restaurant. Also in exchange

for her assistance in opening and operating a Thai restaurant for him, Graciano also paid

Ms. Sanasy’s rent and certain other living expenses in during the period from July 2014

through December 2017.

       19.     In the fall of 2014, Graciano, with help from Sanasy, located a retail space

in Kittery suitable for the Thai restaurant, which was offered for lease by Waterstone

Properties Group, Inc. (“Waterstone”) on behalf of landlord Spruce Creek Retail Outlet,

LLC (“Spruce Creek”).

       20.     On October 17, 2014, Graciano formed a Maine business corporation,

Graciano Inc., for the purpose of operating the restaurant enterprise and holding an

ownership interest in that enterprise, with the knowledge and consent of Sanasy.

       21.     As part of her role in assisting the Graciano Plaintiffs in opening the

restaurant, Sanasy communicated with Waterstone about the lease for the retail space,

and requested that the lease be placed in her name and Mr. Graciano’s, not in the name of

Graciano Inc. Sanasy told Graciano that Waterstone insisted that the lease be set up that

way, since she would be involved in the operation of the restaurant.

       22.     In early November, 2014, the Graciano Plaintiffs and Sanasy agreed to

call the enterprise the Thai Lotus Restaurant, and agreed that it would be operated by the

Graciano Plaintiffs and Sanasy.




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       23.     On or about November 15, 2014, the parties’ signed a Lease Agreement

with Spruce Creek Retail Outlet, LLC (“Spruce Creek”), which provided, inter alia, for a

commencement date of January 1, 2015 (hereinafter the “Lease”). The tenants were

listed as Jose Graciano and Khone Sanasy d/b/a Thai Lotus Restaurant, and the lease was

for a retail space consisting of approximately 1500 square feet and located at the Kittery

Outlets Center at 340 US Route 1 in Kittery, Maine.

       24.     The Graciano Plaintiffs paid all sums due under the Lease until such time

as Graciano was forced out of the Premises in December by Defendants Sanasy and Aer

Senesombath as set forth more fully below.

       25.     Over the course of the next six months, steps were undertaken taken by the

Graciano Plaintiffs and Sanasy to open the restaurant, including procuring the necessary

licenses, renovating and fitting up the space, and purchasing furniture and equipment.

All start-up expenses, which amounted to not less than $100,000.00, were funded solely

and exclusively by the Graciano Plaintiffs, and came principally from funds that Plaintiff

Jose Graciano withdrew from his personal retirement account and from a personal loan

he obtained.

       26.     With the full knowledge and consent of the Graciano Plaintiffs and

Sanasy, the restaurant and liquor licenses for Thai Lotus were applied for and issued in

the name of Graciano Inc. d/b/a Thai Lotus Restaurant.

       27.     The payroll tax account, sales tax account, and unemployment accounts

were applied for and issued in the name of Graciano Inc. d/b/a Thai Lotus Restaurant.

       28.     The sole bank account for the Thai Lotus was also established in the name

of Graciano Inc. at Bank of America, and during the entire period from May 2015



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through December 2017, that account remained in the name of Graciano Inc. That Bank

of America account in the name of Graciano Inc. was the account used for all credit and

debit card transactions at Thai Lotus. At all times pertinent hereto, only Graciano had

signature power on that account, but debit cards with issued on that account to both

Graciano and Sanasy.

       29.     A business credit card was also obtained from Bank of America in the

name of Graciano Inc. to pay for expenses related to the business. At all pertinent times

hereto, both Graciano and Sanasy had the use of a credit card on that account.

       30.     A Clover Station POS machine (hereinafter the “Clover POS Machine”)

was purchased by the Graciano Plaintiffs for purposes of processing all credit card, debit

card and cash transactions at the restaurant.

       31.     The Graciano Plaintiffs contracted with two takeout and delivery services,

the Take Out Guys and Eat24, to process take out transactions and make deliveries to

customers of the restaurant.

       32.     During the entire period of operation of the restaurant from May 2015

through December 2017, Sanasy looked after the day-to-day operations in Kittery during

the workweek with guidance and instruction from Graciano in Connecticut by phone,

email and text, and Mr. Graciano would be on site at the restaurant on weekends.

Graciano also communicated regularly with vendors and government agencies about the

restaurant during that entire period whether he was in Maine or Connecticut, and Sanasy

engaged in those communications as well.

       33.     Sometime in 2015, Sanasy gave Graciano four separate checks for

$10,000 each drawn from a personal account, to invest in the business as her cash



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contribution, but then immediately told him not to deposit the checks because there were

insufficient funds in the account to cover them. Sanasy then assured Graciano that her

contribution would be in the form of working at the restaurant, which work she would do

primarily in the kitchen.

        34.     During the period from May 2015 through December 2017, Sanasy

repeatedly requested that Graciano make additional deposits into the Graciano Inc. bank

account – or that he make payments to vendors – to cover operating expenses that

apparently could not be covered out of the revenues of the restaurant. Graciano expended

tens of thousands of dollars in additional sums from his own funds on expenses related to

the operation of the restaurant that were not paid for from the revenues generated by the

restaurant.

        35.     In January of 2016, Sanasy persuaded Graciano to loan her son, Defendant

Sourasay Senesombath, the sum of $15,000.00 to invest and otherwise expend in

connection with a restaurant in Winslow, Maine called the Asian Café. Upon

information and belief, that restaurant is owned by a Maine business corporation called

Asian Café, which company is owned in whole or in part by Defendants Anima

Nikonthet and Sourasay Senesombath.

        36.     As inducement for the $15,000.00 loan, Defendant Sourasay Senesombath

promised to pay Graciano interest in the amount of $400.00 per week for a period of not

less than three months and not more than four months, and then to repay the principal

sum in full thereafter. Senesombath further promised Graciano a 25% stake in the

business if he failed to repay the loan in full with the interest.




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          37.   Defendant Sourasay Senesombath paid $800.00 in interest on the loan in

early 2016, but has failed to pay the remaining interest due or repay the principal. He

owes Graciano not less than $19,000.00, or alternative, a 25% ownership stake in the

Defendant Asia Cafe.

          38.   In the spring of 2017, Sanasy informed Graciano that she had located a

buyer for the Thai Lotus who had offered to purchase it as a going concern for the total

sum of $40,000.00 including all the furnishings and equipment. Sanasy did not disclose

the identity of the buyer to Graciano, but he later found out it was the girlfriend of her

son Defendant Sourasay Senesombath. Sanasy told Graciano that it was a fair price

based on how “poorly” the restaurant had been doing.

          39.   Sanasy’s representations about how poorly the restaurant was doing made

no sense to Graciano based on the information available to him, which indicated that the

restaurant was doing much better than represented by Sanasy. The revenues being

properly deposited into the business account did not include cash revenues that, as he

later found out, were being diverted by Sanasy. Graciano also became aware through the

restaurant’s surveillance footage that Sanasy was throwing lavish parties at the restaurant

for her friends and family, and did not appear to be charging any money for food or

drinks.

          40.   Graciano told Sanasy he was not willing to sell the restaurant at a

$40,000.00 price that he knew was far below the fair market value of the restaurant.

          41.   Based on information available to the Graciano Plaintiffs during the first

two years of operation of Thai Lotus, the Graciano Plaintiffs became increasingly

suspicious that Sanasy was stealing and otherwise diverting revenues from Thai Lotus –



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  particularly the cash receipts – that should have been deposited into the restaurant’s

  business account at Bank of America in the name of Graciano Inc.

         42.     The Graciano Plaintiffs also became increasingly suspicious that Sanasy

  was stealing and otherwise diverting additional funds that Graciano personally advanced

  at Sanasy’s request for the supposed purpose of paying expenses of the business that

  Sanasy claimed were not covered by its operating revenues, in part because the expenses

  of the business were not getting paid and she allowed the business to rack up debts in the

  name of Graciano or Graciano Inc.

         43.     Upon information and belief, Sanasy was diverting those cash receipts and

  advances into her own pocket, into one or more personal accounts maintained by her,

  and/or into one or more accounts in the name of her sons, Aer Senesombath and Sourasay

  Senesombath. Graciano confronted Sanasy about this in the summer of 2017, and told

  her she must be skimming from the business.

         44.     Each time Graciano confronted Sanasy about the suspicion that she was

  stealing and/or skimming from the business – most commonly when Sanasy told

  Graciano she needed additional funds from him to cover the operating expenses – she

  would deny that she was stealing and claim that the restaurant was simply not doing well

  enough to cover all the expenses, as she had done during most of the previous two years.

  Sanasy thereby induced Graciano to advance still more money in the form of direct

  payments to vendors and/or deposits into the business account at Bank of America or

  other accounts used for the business.




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         45.     Sanasy and her son Aer Senesombath began throwing lavish parties at the

  Thai Lotus in the middle and latter part of 2017, giving away food and alcohol to her

  friends and family without charging them or collecting money for the restaurant.

         46.     Graciano obtained information from an employee at the restaurant about

  the schemes that Sanasy and her son Aer Senesombath were orchestrating to steal money

  from the restaurant and the Graciano Plaintiffs. She would frequently direct that

  employee, a waiter and host named Ai Sone, not to enter cash transactions through the

  Clover POS Machine, but to instead bring all the cash back to her in the kitchen.

         47.     Also according to the employee, Sanasy and/or her son Aer would also

  periodically put a “Cash Only” sign on the door to the restaurant, sometimes

  accompanied an indication that the credit card machine was down, even though the

  Clover POS Machine was not functioning working just fine. In addition to reports from

  the employee of this conduct, Graciano himself caught Defendant Sanasy carrying out

  this scheme this when the machine was working just fine. This had the effect of

  substantially increasing the number of cash transactions at the restaurant and the amount

  of cash Defendants Sanasy and Senesombath could steal from the business and from the

  Graciano Plaintiffs.

         48.     Graciano obtained additional information about Defendants’ fraudulent

  schemes by reviewing the records of the Clover POS transactions and the surveillance

  video, which showed that substantial amounts of cash entered in the Clover POS Machine

  was deposited into the business account at Bank of America, and substantial additional

  amounts of cash that were never entered in the Clover POS Machine.




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         49.     In November of 2017, Sanasy again asked Graciano for more cash,

  claiming she did not have enough money to pay the employees and that they were

  threatening to leave for nonpayment. By this time, the Graciano Plaintiffs had more than

  enough information to prove that she had been stealing cash receipts from the business as

  well as cash advances Graciano made to the business.

         50.     Graciano told Sanasy he was not advancing any more of his own funds,

  and instead made clear he would sell or close the restaurant if he had to, or find a new

  operator. Graciano knew the restaurant was generating enough revenue to pay the

  employees and that if the operator wasn’t stealing from the restaurant, there would be

  more than enough money to pay the employees and cover all the other expenses. For that

  same reason, Graciano knew he could find a buyer for the restaurant if he chose to sell it.

         51.     Sanasy asked Graciano if he had someone else who would operate the

  restaurant on a day-to-day basis in her place, and he told her that he did, but refused to

  tell her who that was despite her request. Shortly thereafter, Sanasy fired the chef

  working at the restaurant because, upon information and belief, she knew he was the

  person who would operate the restaurant for the Graciano Defendant.

         52.     In late November 2017, Sanasy demanded that Graciano sign an

  agreement requiring him to pay her half of the sale price for the restaurant if it was ever

  sold. Although Sanasy did not provide him with a copy of that agreement, Graciano told

  Sanasy he would not sign such an agreement, in part because he knew she had already

  stolen several hundred thousand dollars from him and the business.

         53.     During the months of November and December, 2017, Sanasy threatened

  Graciano that she would report him to the authorities for unlawful business activities –



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  including failure to comply with tax and other regulations that she was supposed to be

  taking care of as operator – if he ever tried to remove her as operator of the restaurant or

  if he did not give her a share the proceeds from a future sale of the restaurant.

         54.     Sometime in December, 2017, Sanasy told Bank of America that she had

  just purchased the Thai Lotus restaurant from Graciano, and opened a new checking

  account in her own name (d/b/a Thai Lotus Restaurant) into which all debit and credit

  transactions from the operation of Thai Lotus could be deposited.

         55.     On or about December 13, 2017, Graciano received a letter from Attorney

  Patrick Bedard on behalf of Defendant Sanasy. In that letter, Attorney Bedard contended

  that the Thai Lotus was a partnership between Sanasy and Graciano and that Sanasy

  owned a 50% interest in the business. Bedard demanded that Graciano provide him

  copies of the financials of the business and pay Sanasy half the profits from the

  restaurant’s operation since it opened in May of 2015. Bedard also conveyed thinly

  veiled threats to Graciano about actions Sanasy would take against him in regard to his

  alleged failure to comply with tax laws and other business regulations, if he did not pay

  her the money she was demanding.

         56.     On or about December 19, 2017, Graciano retained Attorney Dawn

  Harmon of the law firm of Perkins Thompson in Portland. On December 22, 2017,

  Attorney Harmon sent a letter to Attorney Bedard notifying him that Sanasy had no

  ownership interest in the Thai Lotus and thus no right to examine its financial records,

  that she had contributed no funds to the restaurant, and that she had in fact been stealing

  from Mr. Graciano and his business.




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         57.     Up to that point, Graciano reasonably believed that Thai Lotus belonged

  exclusively to him and his company, Graciano, Inc., and was unaware that a partnership

  had been created with Sanasy under Maine law. Graciano also knew that any profits

  generated from the business had been stolen or otherwise misappropriated by Sanasy, by

  virtue of the fact that Sanasy regularly and continually asked him to contribute more

  money to a business she said was no generating enough revenue to cover its operating

  expenses.

         58.     On December 22, 2017, while Graciano was watching the surveillance

  video in the restaurant, he observed Sanasy meeting with a salesman from Heartland

  Payment Systems and discussing the installation of a new credit card payment processing

  and point-of-sale system. Graciano suspected that they were seeking to divert ACH

  transactions at the restaurant into a different bank account, because they knew the

  existing Clover machine processed and deposited all transactions into the Graciano Inc.

  account at Bank of America.

         59.     Graciano immediately called Heartland to report what was going on.

  Heartland reported to Graciano that they were told by Sanasy that Graciano had

  disappeared and they had taken over the restaurant, and that Heartland had already

  opened a new account with her. Sanasy can be heard making similar representations on

  the video to the sales representative. Graciano told Heartland that he was still the owner

  of Thai Lotus and that what they were doing was illegal. Heartland assured Graciano that

  they would contact the sales representative immediately and let them know what was

  going on.




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         60.     On or about December 23, 2017, Graciano confronted Sanasy and her son

  at the restaurant about changes they were trying to make to the point of sale credit card

  processing system. He also confronted them about stealing from the business and from

  him. The son, Defendant Aer Senesombath, told Graciano that if he didn’t leave the

  Premises immediately, or if he ever returned, he would break his legs. Graciano became

  immediately fearful of bodily injury, left the Premises and did not return until he was able

  to get police assistance.

         61.     On December 27, 2017, while watching surveillance video in the

  restaurant, Graciano observed Sanasy and son, Defendant Aer Senesombath, talking on

  the telephone to a representative from Bank of America about problems they were having

  processing credit card transactions with the existing Clover machine. Graciano suspected

  that, after Heartland had terminated their account, that they were seeking to use the

  existing machine to process funds into a different account at Bank of America.

         62.     On or about December 28, 2018, Graciano went in person to the Kittery

  Police Station to make a criminal complaint against Defendant Sanasy and her son,

  Defendant Aer Senesombath. He reported the following to Officer Brian Cummer and a

  detective who was also present: (a) that he had observed Sanasy and her son on

  surveillance video messing around with the credit card processing station and talking to

  banks and vendors in an effort to change the account information in order to divert and

  otherwise steal the restaurant’s ACH receipts; (b) that Sanasy had diverted and otherwise

  stolen cash from the operations of the business and funds he advanced to the business;

  (c) that Aer Senesombath was selling drugs out of the restaurant; and (d) that Aer

  Senesombath had threatened to break Graciano’s legs if he did not immediately leave the



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  restaurant or if he ever came back. Graciano presented documentation to the police of the

  conduct he reported in subsections (a) and (b) hereof, including electronic documentation

  from his iPad. The case number assigned by the Kittery Police Department was 17-KIT-

  1983-OF.

         63.        A few days later, Graciano arranged for a police officer to meet him at the

  restaurant for assistance in regaining control of the restaurant from Sanasy and

  Senesombath, because he did not feel safe going alone. The officer escorted him into the

  Premises, proceeded to tell Sanasy and Senesombath that they needed to leave the

  Premises. Sanasy refused to leave, but then her son came out and was able to persuade

  her to leave the restaurant. They went out the back door of the restaurant.

         64.        Sanasy’s attorney, Patrick Bedard, arrived shortly thereafter, and the

  police arrived shortly after he got there. Sanasy and her son returned to the restaurant as

  well. Bedard showed the police and Graciano the copy of the lease to the space, which

  listed the tenants as “Jose Graciano and Khone Sanasy, d/b/a Thai Lotus Restaurant.”

  The police informed Graciano that because Sanasy was a co-tenant on the lease, they

  could not remove her as a trespasser.

         65.        Given the threats of serious physical harm that had been communicated to

  him by Sanasy’s son, and being unable to remove Sanasy or her son from the physical

  space due to the way in which the lease had been drafted, Graciano left the Premises and

  did not return.

         66.        The Graciano Plaintiffs made efforts through their attorney over the next

  few weeks to try to regain control of the restaurant, which were unsuccessful.




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         67.     In early January, Graciano contacted Bank of America to let them know

  he thought Ms. Sanasy was trying to re-route ACH transactions from the Thai Lotus into

  a new or different account. The representative with whom he spoke, Olguita Correa, told

  Graciano that Sanasy had reported to Bank of America in early December that she had

  purchased the restaurant from him.

         68.     Graciano informed Bank of America that he had not sold his restaurant to

  Sanasy or anyone else, and reported that she had no authority to re-route ACH

  transactions from sales at the restaurant.

         69.     Graciano subsequently learned that Sanasy did the very same thing at

  Citizens Bank, again trying to open new checking account in her own name (d/b/a Thai

  Lotus Restaurant) into which all debit and credit transactions from the operation of Thai

  Lotus could be deposited.

         70.     Also in early January, 2018, Graciano discovered that Sanasy had stopped

  accepting credit and debit card transactions at the restaurant altogether. Those

  transactions were linked to the Graciano Inc. account at Bank of America over which

  Sanasy had no access, and Sanasy’s efforts to reroute those transactions were

  unsuccessful. Sanasy posted a sign on the door that read “Cash Only—Credit Card

  Machine Broken.”

         71.     In late December 2017 and/or early January 2018, Sanasy also told one of

  the take and delivery contractors, the Take Out Guys, that she had purchased and/or taken

  over the Thai Lotus from the Graciano Plaintiff and that all monies and receipts collected

  should be paid to her.




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         72.     On February 16, 2018, the Graciano Plaintiffs, through counsel, notified

  the property management agent for the landlord, Waterstone, that Sanasy had hi-jacked

  the restaurant and forced him out of the space. He further notified Waterstone that

  Sanasy was trying to sell the restaurant without his approval to an unidentified third party

  and assign the lease to that party.

         73.     The Graciano Plaintiffs obtained a draft lease assignment from the

  property management agent, and thus learned that Sanasy was seeking to sell the Thai

  Lotus restaurant and assign the lease to Achara Weydt, a woman from Boylston,

  Massachusetts who owned and operated a Thai restaurant in Whitinsville, Massachusetts.

         74.     On or about February 23, 2018, the Graciano Plaintiffs, through counsel,

  notified Achara Weydt that Sanasy had hi-jacked Thai Lotus and forced him out of the

  space, and that she was unlawfully trying to sell the Thai Lotus to her and assign the

  lease. Counsel further notified and warned Weydt that Sanasy had no right to do so

  without his authority, which he had not given and would not give.

         75.      On or about February 25, 2018, a meeting took place at the Thai Lotus

  restaurant between and among Sanasy, Weydt and an agent for Waterstone named Alex

  White. Notwithstanding the fact that Weydt and Waterstone had been notified of

  Sanasy’s unlawful activities and that she did not have the right to sell the business, they

  proceeded to discuss arrangements to facilitate the same.

         76.     Now that Graciano had found out about the unlawful assignment of the

  lease, Sanasy, Weydt and Waterstone all shifted gears toward a termination of the lease

  and the issuance of a new lease to Weydt and/or her company.




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         77.       Upon information and belief, Waterstone’s agent assured Sanasy and

  Weydt that one or both of them would get a lease to the premises as soon as Graciano’s

  interest in the space could be terminated through a termination of the existing lease.

  Based on that assurance, Weydt gave Sanasy a substantial payment toward the purchase

  of the Thai Lotus.

         78.       During a meeting at Waterstone’s office in Needham, Massachusetts on

  March 2, 2018, Waterstone’s President, Neal Shalom, represented to Graciano that he had

  no knowledge that Sanasy was attempting to sell the Thai Lotus restaurant without his

  authority to Achara Weydt, and denied that his agent, Alex White, was present at a

  meeting to help facilitate that unlawful and unauthorized sale on February 25, 2018.

         79.       On March 9, 2018, Waterstone and Spruce Creek terminated the lease by

  notice to Graciano and Sanasy based on allegations of nonpayment of rent.

         80.       On or about March 14, 2018, the Waterstone and Spruce Creek filed a

  complaint for forcible entry and detainer against Graciano and Sanasy in Maine District

  Court in York.

         81.       On March 15, 2018, Weydt formed Thai & I Corporation (“Thai & I), and

  designated Sanasy’s son, Sourasay Senesombath, as its registered agent. Weydt is the

  president and sole shareholder of Thai & I.

         82.       At some time between March 15 and April 27, 2018, the Waterstone and

  Spruce Creek entered into a lease agreement with Achara Weydt and/or Thai & I.

         83.       On April 27, 2018, the Waterstone and Spruce Creek obtained a judgment

  for possession of the premises against Graciano and Sanasy, as well as a writ of

  possession to the premises. Sanasy never contested the proceeding and at all applicable



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  times, together with her counsel, was actively assisting the Waterstone and Spruce Creek

  in obtaining judgment.

         84.     The writs of possession were served upon Graciano and Sanasy, but

  Sanasy’s possession of the premises continued until such time as the possession was

  taken over by Weydt and her company, and Sanasy continued thereafter to be involved in

  operation of the restaurant. Upon information and belief, Waterstone and Spruce Creek

  never retook physical possession of the premises following the termination of the lease,

  and instead such possession was taken by Weydt directly from Sanasy.

         85.     From March 2018 until May 10, 2018, Sanasy and Weydt operated the

  restaurant under the name Thai Lotus and/or Thai Lotus Restaurant, which are registered

  marks of Plaintiff Graciano Inc. Commencing on May 10, 2018, Sanasy and Weydt

  began to operate the restaurant under the name Thai & I Restaurant.

         86.     Upon information and belief, some of the monies taken from the Graciano

  Plaintiffs through the Defendants’ pattern of theft, fraud and racketeering were used to

  renovate and reopen the Kittery Restaurant under the name “Thai and I,” and to pay rent

  to Defendants Waterstone, Spruce Creek and/or Spruce Creek Ground Tenant.

         87.     Upon information and belief, other monies taken from the Graciano

  Defendants were invested by Defendants Sanasy and Sourasay Senesombath in a

  restaurant called the Capital Thai Kitchen & Bar in Exeter, New Hampshire.

         88.     As a result of the actions and omissions of the Defendants, the Plaintiffs

  were never able to re-enter the premises and retake control of the Thai Lotus after

  December 28, 2017. All the assets of the Thai Lotus Restaurant and those of the

  Graciano Plaintiffs contributed thereto, as well as the revenues generated therefrom, were



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  stolen, converted and otherwise misappropriated by Defendants Khone Sanasy, Aer

  Senesombath, Sourasay Senesombath, Achara Weydt and Thai & I. The Graciano

  Plaintiffs and Plaintiff Thai Lotus restaurant have suffered several hundreds of thousands

  of dollars in losses and other damages as the proximate result thereof.

                                          COUNT I
                        Violations of 18 U.S.C. §§ 1962(c) and 1962(d)
                                         Racketeering
                     (Against Defendants Khone Sanasy, Aer Senesombath,
                Sourasay Senesombath, Achara Weydt, and Thai & I Corporation)

          89.      Plaintiffs repeat and restate the allegations in paragraphs 1-88 as if fully

  set forth herein.

          90.      At all times pertinent herein, Defendants Khone Sanasy, Aer

  Senesombath, Sourasay Senesombath, Achara Weydt, and Thai & I Corporation

  (hereinafter the “Count I Defendants”) were each an “enterprise” within the meaning of

  18 U.S.C. § 1961(4).

          91.      At all times pertinent herein, the Count I Defendants were associated in

  fact within the meaning of 18 U.S.C. § 1961(4) so as to constitute an enterprise within the

  meaning of that statute (hereinafter the “Sanasy-Senesombath-Weydt Enterprise”). The

  Sanasy-Senesombath-Weydt Enterprise is an enterprise engaged in or whose activities

  affect interstate commerce, including the conduct of restaurant operations in Maine and

  New Hampshire and the movement of money across state lines and across interstate wires

  to facilitate such operations.

          92.      At all pertinent times herein, the Defendants participated in the conduct of

  the affairs of the above-described enterprises, directly and/or indirectly, through a pattern

  of racketeering activity in violation of 18 U.S.C. § 1962(c), including but not limited to


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  multiple separate acts of extortion, wire fraud in violation of 18 U.S.C. § 1343, bank

  fraud in violation of 18 U.S.C. § 1344, and transporting stolen property in violation of 18

  U.S.C. § 2314, as set forth more particularly herein and in the Fact section of this

  Complaint.

         93.     Among other racketeering activity constituting extortion under Maine law,

  Defendant Sanasy threatened to report Graciano to the authorities for unlawful business

  activities – including failure to comply with tax and other regulations that she was

  supposed to be taking care of as operator – if he ever tried to remove her as operator of

  the restaurant or if he did not give her an ownership interest in the company or share the

  proceeds from a future sale of the restaurant.

         94.     Among other racketeering activity constituting wire fraud in violation of

  18 U.S.C. § 1343, the Count I Defendants devised a scheme or artifice to defraud

  Plaintiff, and to obtain money or property from Plaintiff by means of false or fraudulent

  pretenses, representations or promises that Plaintiff reasonably relied upon to its

  detriment, and which false or fraudulent pretenses, representations or promises were

  transmitted or caused to be transmitted by wire communication in interstate commerce,

  including but not limited to telephone, email and text message, for purposes of executing

  said scheme or artifice. The false or fraudulent pretenses, representations or promises

  that Plaintiffs reasonably relied upon to their detriment include, without limitation, those

  set forth in Count III hereof.

         95.     Among other racketeering activity constituting bank fraud in violation of

  18 U.S.C. § 1344, the Defendants Sanasy and Aer Senesombath made false

  representations to Bank of America and certain credit card processing vendors for the



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  purpose of gaining control over funds or monies belonging to the Plaintiffs, which

  representations included the representation that Sanasy had purchased the Thai Lotus

  from the Graciano Plaintiffs and that they were no longer involved in the business.

          96.    Among other racketeering activity constituting transporting stolen

  property in violation of 18 U.S.C. § 2314, the Count I Defendants stole, converted and

  otherwise misappropriated for their own use and benefit hundreds of thousands of dollars

  belonging to Plaintiffs, and transported some of those monies, including but not limited

  to cash, across state lines in multiple separate trips from Maine to New Hampshire and

  Maine to Massachusetts during the period from May of 2015 through May 2018.

          97.    The interstate transportation was occasioned in part by, and partly for the

  purpose of, financing the opening of a new restaurant in Exeter, New Hampshire, and

  bringing back cash from Massachusetts derived from the Count I Defendants’ fraudulent

  sale of Plaintiffs’ restaurant to Defendant Achara Weydt.

          98.    The Count I Defendants also used interstate wires to transport stolen

  property, including by their unauthorized use of a business credit card, their deposit of

  stolen funds into one or more bank accounts, and their diversion and/or attempted

  diversion of ACH transactions from the restaurant into one or more bank accounts in their

  name.

          99.    All racketeering activity alleged herein was conducted through one or

  more of the enterprises described herein, including but not limited to the Sanasy-

  Senesombath-Weydt Enterprise.

          100.   As a result of the unlawful racketeering conduct of the Count I Defendants

  set forth herein, Plaintiffs were deprived of their property interests.



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         101.    The Count I Defendants aided and abetted one another in their unlawful

  racketeering activities and, in violation of 18 U.S.C. § 1962(d), conspired to engage in

  unlawful racketeering activities by agreeing with one another to engage those unlawful

  racketeering activities.

         102.    As a direct and proximate result of the Count I Defendants’ unlawful

  racketeering activities, their aiding and abetting of one another’s racketeering activities,

  and/or their conspiracy to engage in racketeering activities, Plaintiffs have suffered direct

  and consequential harm in the amount of several hundred thousand dollars, and are

  entitled to treble damages therefor as well as reasonable attorney’s fees and costs

  pursuant to

  18 U.S.C. § 1964(c).

         WHEREFORE, Plaintiffs respectfully requests that this Court:

                 A.      Order that the Count I Defendants return at once to the Plaintiffs

  all property and assets in Defendants’ possession, custody or control that belong to the

  Plaintiffs and/or over which Plaintiff has a right of possession and control;

                 B.      Award such compensatory damages to Plaintiff as are appropriate,

  plus interest and costs;

                 C.      Award treble damages and attorney’s fees and costs to Plaintiff

  pursuant to 18 U.S.C. § 1964(c);

                 D.      Award punitive damages to Plaintiff where appropriate; and

                 E.      Award such other and further relief as is just and proper.




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                                       COUNT II
                                       Conversion
                   (Against Defendants Khone Sanasy, Aer Senesombath,
              Sourasay Senesombath, Achara Weydt, and Thai & I Corporation)

          103.    Plaintiffs repeat and restate the allegations in paragraphs 1-102 as if fully

  set forth herein.

          104.    At all pertinent times hereto, Plaintiffs had the exclusive right to

  possession, ownership and control of, inter alia, the following property: (a) all cash and

  other proceeds generated from the operation of Thai Lotus in Kittery, Maine; (b) all

  equipment, furnishings, and leases associated with the Thai Lotus; (c) all cash and other

  monies loaned or otherwise advanced for the benefit of Thai Lotus in Kittery, Maine; (d)

  all funds contained in any bank accounts in the name of Graciano and/or Graciano Inc.;

  and (e) trademarks, designs and logos for Thai Lotus.

          105.    As set forth in the Fact sections of this Complaint, the Count II Defendants

  converted, stole, transferred and/or misappropriated for their own use and benefit,

  property with respect to which Plaintiffs had the exclusive right to possession, ownership

  and control.

          106.    At no time were any of the Count II Defendants authorized or entitled to

  convert, transfer or appropriate for their own personal use and benefit any of the property

  with respect to which Plaintiffs had the exclusive right to possession, ownership and

  control.

          107.    The Count II Defendants have failed to return to Plaintiffs any of the

  converted, stolen, transferred and otherwise misappropriated property with respect to

  which Plaintiffs had the exclusive right to possession, ownership and control.




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          108.    As a direct and proximate result of the Count II Defendants’ unauthorized,

  wrongful and tortious conversion of Plaintiffs’ property, Plaintiffs have suffered direct

  and consequential harm, including but not limited to economic and monetary losses of

  several hundred thousand dollars, and damages to Plaintiffs’ reputation and good will in

  the community.

          109.    The wrongful actions of the Count II Defendants set forth herein constitute

  actual malice and/or malice implied. As a result, Plaintiffs are entitled to punitive

  damages in addition to compensatory and consequential damages arising from such

  wrongful actions.

          WHEREFORE, Plaintiffs respectfully requests that this Court:

                  A.     Order that Defendants return at once to the Plaintiffs all property

  and assets in Defendants’ possession, custody or control that belong to the Plaintiffs

  and/or over which Plaintiff has a right of possession and control;

                  B.     Order Defendants to pay such compensatory and consequential

  damages to Plaintiffs as are appropriate, plus interest and costs;

                  C.     Order that Defendants pay punitive damages to the Plaintiffs; and

                  D.     Award such other and further relief as is just and proper.

                                      COUNT III
                             Intentional Misrepresentation
      Against Defendants Khone Sanasy, Aer Senesombath and Sourasay Senesombath

          110.    Plaintiffs repeat and restate the allegations in paragraphs 1-109 as if fully

  set forth herein.

          111.    Defendants Sanasy, Aer Senesombath, and Sourasay Senesombath (the

  “Count III Defendants”) made a series of false and/or misleading representations and


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  assurances to Plaintiffs in person, by phone, by email and by text message, including,

  without limitation, the following:

                 a.      that they were experienced restaurant operators and/or managers.

  In fact, the Count III Defendants were experienced thieves that knew little about effective

  restaurant management and regulatory compliance;

                 b.      that they would manage the day-to-day operations and

  management of Thai Lotus, including: the hiring, payment and firing of employees;

  retaining and otherwise dealing with vendors, suppliers and contractors; bookkeeping and

  accounts payable and receivable; local, state and federal regulatory compliance; and

  quarterly and annual tax filing, payment and reporting requirements, among other affairs

  associated with operation of the restaurant, which false and/or misleading representations

  and assurances were made on a regular basis to Plaintiffs during the period from March

  2015 until December 2017. In fact, the Count III Defendants intended to use, and did

  use, Sanasy’s position as the day-to-day operator and/or manager of the restaurant to

  defraud Plaintiffs and steal money and property belonging to Plaintiffs;

                 c.      that the Count III Defendants would pay and were paying the

  expenses owed by Plaintiff in connection with the restaurant’s operations as they became

  due, including but not limited to payroll tax liabilities, which false and/or misleading

  representations and assurances were made on a regular basis to Plaintiffs during the

  period from March 2015 until early December 2017. In fact, the Count III Defendants

  were not paying all the expenses of the restaurant, in furtherance of their scheme to

  defraud Plaintiffs and steal money and property belonging to Plaintiffs;




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                    d.     that Thai Lotus had less revenue than were actually being

  generated by its operation, and more expenses than were actually being incurred, which

  false representations were made on a regular basis to Plaintiffs during the period from

  March 2015 through December 2017. In fact, the Count III Defendants were stealing

  revenues from the operation of the business, and monies loaned or advanced by Plaintiffs

  for the business, rather than paying expenses of the business or allowing Plaintiffs to

  realize a profit;

                    e.     that the Thai Lotus was only worth $40,000. In fact, the Count III

  Defendants knew it was worth more than that, because they were skimming all the profit

  and then some, and seeking to cause financial harm the business (or conceal its

  profitability) so that they could purchase or take over ownership of the restaurant through

  a family member or other third party buyer.

                    f.     that they were not in fact stealing or skimming money from the

  Plaintiffs; and

                    g.     that Defendant Sourasay Senesombath intended to repay the sum

  of $15,000.00 borrowed from Plaintiff Graciano and/or give him a 25% ownership

  interest in the Asian Café if he did not do so.

          112.      At the time of the above-described representations and assurances to

  Plaintiffs, the Count III Defendants knew that those representations and assurances were

  false and/or misleading.

          113.      As a direct and proximate result of Plaintiffs’ reasonable reliance on the

  Count III Defendants’ false and misleading representations and assurances, Plaintiffs

  have suffered direct and consequential harm, including but not limited to monetary losses



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  of several hundred thousand dollars, and damage to Plaintiffs’ reputation and good will in

  the community.

          114.     The fraudulent actions of the Count III Defendants set forth herein

  constitute actual malice and/or malice implied. As a result, Plaintiffs are entitled to

  punitive damages in addition to compensatory and consequential damages arising from

  such fraudulent actions.

          WHEREFORE, Plaintiffs respectfully requests that this Court:

                   A.     Order that Defendants return at once to the Plaintiffs all property

  and assets in Defendants’ possession, custody or control that belong to the Plaintiffs

  and/or over which Plaintiff has a right of possession and control;

                   B.     Order Defendants to pay such compensatory and consequential

  damages to Plaintiffs as are appropriate, plus interest and costs;

                   C.     Order that Defendants pay punitive damages to the Plaintiffs; and

                   D.     Award such other and further relief as is just and proper.

                                         COUNT IV
                                      Breach of Contract
                 (Against Defendant Sourasay Senesombath and the Asian Café)

          115.     Plaintiffs repeat and restate the allegations in paragraphs 1-114 as if fully

  set forth herein.

          116.     Defendants Sourasay Senesombath and Asian Café (the “Count IV

  Defendants”) entered into a binding agreement to borrow and repay the sum of

  $15,000.00 from Plaintiff Graciano, with interest, and pledged a 25% interest in the Asia

  Café as security therefor.




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          117.     The Count IV Defendants breached that agreement by failing to repay the

  principal and interest in full to Plaintiff Graciano, and by failing to give him a 25%

  ownership interest in the restaurant.

          118.      As a direct and proximate result of the breach of the agreement by the

  Count IV Defendants, Plaintiff Graciano has suffered harm.

          WHEREFORE, Plaintiffs respectfully requests that this Court:

                   A.     Order the Count IV Defendants to pay such compensatory and

  consequential damages to Plaintiff Graciano as are appropriate, plus interest and costs;

                   B.     Award Plaintiff Graciano a 25% ownership interest in the Asian

  Café; and

                   C.     Award such other and further relief as is just and proper.

                                         COUNT V
                                     Promissory Estoppel
                 (Against Defendant Sourasay Senesombath and the Asian Café)

          119.     Plaintiffs repeat and restate the allegations in paragraphs 1-118 as if fully

  set forth herein.

          120.     Defendants Sourasay Senesombath and Asian Café (the “Count V

  Defendants”) induced Plaintiff Graciano to loan them the sum of $15,000.00 based on a

  promise to repay that sum to Plaintiff Graciano, with interest, by pledging a 25% interest

  in the Asia Café as security therefor.

          121.     Plaintiff Graciano relied by the promises of the Count V Defendants by

  loaning them the sum of $15,000.00.




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          122.    The Count V Defendants failed to repay the principal and interest in full to

  Plaintiff Graciano, or to give him a 25% ownership interest in the restaurant, and as a

  result, Plaintiff Graciano suffered detriment.

          123.    Equity requires enforcement of the promises made by the Count V

  Defendants.

          WHEREFORE, Plaintiffs respectfully requests that this Court:

                  A.     Order the Count V Defendants to pay such compensatory and

  consequential damages to Plaintiff Graciano as are appropriate, plus interest and costs;

                  B.     Award Plaintiff Graciano a 25% ownership interest in the Asian

  Café; and

                  C.     Award such other and further relief as is just and proper.

                                    COUNT VI
                                 Unjust Enrichment
    (Against Defendant Sourasay Senesombath, the Asian Café and Anima Nikonthet)

          124.    Plaintiffs repeat and restate the allegations in paragraphs 1-123 as if fully

  set forth herein.

          125.    Defendants Sourasay Senesombath and Asian Café (the “Count VI

  Defendants”) induced Plaintiff Graciano to loan them the sum of $15,000.00 based on a

  promise to repay that sum to Plaintiff Graciano, with interest, by pledging a 25% interest

  in the Asia Café as security therefor.

          126.    Plaintiff Graciano relied by the promises of the Count VI Defendants by

  loaning them the sum of $15,000.00. The Count VI Defendants used these funds for the

  business of the Asian Café, directly benefited from the use of these funds, and continue to

  benefit from such funds through the operation of the Asian Café as a going concern.


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          127.    The Count VI Defendants failed to repay the principal and interest in full

  to Plaintiff Graciano, or to give him a 25% ownership interest in the restaurant, and as a

  result, Plaintiff Graciano suffered detriment.

          128.    The Count VI Defendants have been unjustly enriched by the $15,000.00

  borrowed from Plaintiff Graciano without repayment thereof.

          129.    Equity requires the Count VI Defendants pay to Plaintiff the full extent of

  the monetary amount or value by which they have been unjustly enriched.

                  A.     Order the Count VI Defendants to pay such compensatory and

  consequential damages to Plaintiff Graciano as are appropriate, plus interest and costs;

                  B.     Award Plaintiff Graciano a 25% ownership interest in the Asian

  Café; and

                  C.     Award such other and further relief as is just and proper.

                                         COUNT VII
                             Violation of 15 U.S.C. § 1114 et seq.
                                  Trademark Infringement

          130.    Plaintiffs repeat and restate the allegations in paragraphs 1-129 as if fully

  set forth herein.

          131.    Plaintiffs were at all times pertinent hereto the lawful owners of the marks

  “Thai Lotus Restaurant” and “Thai Lotus” marks under Maine law (the “Thai Lotus

  Trademarks”), and used those marks during the entire period from May 2015 through

  December 2017 to identify its goods and services and distinguish them goods and/or

  services sold by others.

          132.    Plaintiffs Graciano Inc. and Thai Lotus Restaurant prominently displayed

  the Thai Lotus Trademarks their marks inside and outside the retail space in Kittery,


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  Maine where the restaurant operated, in print and online advertisements, through general

  internet marketing, and in the sale of goods with the marks clearly depicted thereon.

         133.    Defendants Sanasy, Aer Senesombath, Sourasay Senesombath, Achara

  Weydt and/or Thai & I Corporation (hereinafter the “Count VII Defendants”) have

  infringed Thai Lotus Trademarks in commerce by marketing, displaying, and selling

  goods and services at the retail restaurant space in Kittery, Maine using the Thai Lotus

  Trademarks, without authority or license from the Plaintiffs, during the entire period from

  December 28, 2017 through May 31, 2018.

         134.    The Count VII Defendants’ use of the Thai Lotus Trademarks has caused

  and is likely to cause confusion as to an association, sponsorship, or endorsement of the

  goods and services marketed and/or sold by the Count VII Defendants.

         135.    The Count VII Defendants’ use of the marks that are the same or

  confusingly similar to the Thai Lotus Trademarks has caused and is likely to cause

  confusion, to cause mistake, or to deceive the purchasing public.

         136.    The Count VII Defendants’ actions are intentional and willful. The Count

  VII Defendants were on notice of the Plaintiffs longstanding use of Thai Lotus

  Trademarks during the entire period of their infringement thereof.

         137.    Despite their actual notice of the protected marks, the Count VII

  Defendants have refused to cease the infringing activity.

         138.    As a direct and proximate result of the Count VII Defendants’

  infringement actions, the Plaintiffs suffered damage to their reputation and goodwill,

  injury to its past and potential customer base, and a loss of revenue in an amount not yet

  determined.



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          139.     The Plaintiffs are entitled to recover the Count VII Defendants’ profits and

  reasonable royalties for the infringing use of the Thai Lotus Trademarks, as well as

  damages, all of which may be trebled as the result of the Count VII Defendants’ willful

  conduct, as set forth in 15 U.S.C. § 1117.

          140.     The Count VII Defendants’ actions render this an exceptional case, further

  entitling the Plaintiffs to recover its attorneys’ fees and costs of suit as set forth in 15

  U.S.C. § 1117.

          WHEREFORE, Plaintiffs respectfully requests that this Court:

                   A.     Award to the Plaintiffs an amount equal to the profits and

  reasonable royalties for the infringing use of the Graciano Inc. Trademarks by the

  Defendants, pursuant to 15 U.S.C. § 1117;

                   B.     Award such compensatory damages to Plaintiff as area

  appropriate, plus interest and costs, pursuant to 15 U.S.C. § 1117;

                   C.     Award treble damages and attorney’s fees and costs to Plaintiff

  pursuant to 15 U.S.C. § 1117; and

                   D.     Award such other and further relief as is just and proper.

                                        COUNT VIII
                        Expulsion of Partner by Judicial Determination
                                   31 M.R.S.A. §§ 1061(5)
                               Against Defendant Khone Sanasy

          141.     Plaintiffs repeat and restate the allegations in paragraphs 1-140 as if fully

  set forth herein.

          142.     As a result of Defendant Khone Sanasy’s misconduct conduct set forth in

  this Complaint, including without limitation the Fact section and Counts I-III hereof,

  legal grounds have been established for the expulsion of Sanasy as a partner of Thai

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  Lotus Restaurant by judicial determination pursuant to 31 M.R.S.A. § 1061(5), including,

  without limitation:

                 a.      Sanasy engaged in wrongful conduct that adversely and materially

  affected the business of Thai Lotus Restaurant;

                 b.      Sanasy willfully or persistently committed a material breach of the

  partnership agreement or of a duty owed under 31 M.R.S.A. § 1044 to the Thai Lotus

  Restaurant or the other partners thereof; and/or

                 c.      Sanasy engaged in conduct relating to the partnership business that

  makes it not reasonably practicable for the Graciano Plaintiffs to carry on the business of

  Thai Lotus Restaurant in partnership with Sanasy.

         WHEREFORE, Plaintiffs respectfully requests that this Court:

                 A.      Order that Defendant Sanasy be expelled from the partnership by

  judicial determination pursuant to 31 M.R.S.A. § 1061(5);

                 B.      Order that Defendant Sanasy return at once to the Plaintiffs all

  property and assets in her possession, custody or control that belong to the Plaintiffs

  and/or over which Plaintiffs have a right of possession and control;

                 C.      Order that all assets of the partnership be awarded and otherwise

  set aside to the Graciano Plaintiffs;

                 D.      Order Defendants to pay such compensatory and consequential

  damages to Plaintiffs as are appropriate, plus interest and costs; and

                 E.      Award such other and further relief as is just and proper.




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                                           COUNT IX
                       Dissolution of Partnership by Judicial Determination
                                      31 M.R.S.A. §§ 1081(5)
                                 Against Defendant Khone Sanasy

          143.    Plaintiffs repeat and restate the allegations in paragraphs 1-142 as if fully

  set forth herein.

          144.    As a result of Defendant Khone Sanasy’s misconduct conduct set forth in

  this Complaint, including without limitation the Fact section and Counts I-III hereof,

  legal grounds have been established for the dissolution of partnership known as Thai

  Lotus Restaurant by judicial determination pursuant to 31 M.R.S.A. § 1081(5), including,

  without limitation:

                  a.       That the economic purpose of Thai Lotus Restaurant has been

  unreasonably frustrated;

                  b.       That Defendant Khone Sanasy has engaged in conduct relating to

  the business of the Thai Lotus Restaurant that makes it not reasonably practicable to carry

  on that business in partnership with Defendant Sanasy; and/or

                  c.       It is not otherwise reasonably practicable to carry on the

  partnership business in conformity with the partnership agreement

          WHEREFORE, Plaintiffs respectfully requests that this Court:

                  A.       Order that the Thai Lotus Restaurant by dissolved by judicial

  determination pursuant to 31 M.R.S.A. § 1081(5);

                  B.       Order that Defendant Sanasy return at once to the Plaintiffs all

  property and assets in her possession, custody or control that belong to the Plaintiffs

  and/or over which Plaintiffs have a right of possession and control;




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                  C.     Order that all assets of the partnership be awarded and otherwise

  set aside to the Graciano Plaintiffs;

                  D.     Order Defendants to pay such compensatory and consequential

  damages to Plaintiffs as are appropriate, plus interest and costs; and

                  E.     Award such other and further relief as is just and proper.

                                        COUNT X
                          Interference with Contractual Relations
                 (Against Defendants Sanasy, Aer Senesombath and Weydt)

          145.    Plaintiffs repeat and restate the allegations in paragraphs 1-144 as if fully

  set forth herein.

          146.    The Plaintiffs had existing contractual relationships with the following

  parties: (a) Waterstone; (b) Spruce Creek; (c) the Take Out Guys; and (c) Bank of

  America.

          147.    The Graciano Plaintiffs had existing contractual relationships with

  Plaintiff Thai Lotus and with Defendant Sanasy.

          148.    Defendants Sanasy, Aer Senesombath, and Weydt procured the breach

  and/or termination of these contracts and contractual relationships through the acts

  constituting fraud and/or intimidation described in this Complaint.

          149.    As a direct and proximate result of the Count X Defendants’ acts

  constituting interfering with contractual relations, Plaintiffs have suffered direct and

  consequential harm, including but not limited to monetary losses of several hundred

  thousand dollars, and damage to Plaintiffs’ reputation and good will in the community.

          150.    The actions of the Count X Defendants set forth herein constitute actual

  malice and/or malice implied. As a result, Plaintiffs are entitled to punitive damages in


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  addition to compensatory and consequential damages arising from such fraudulent

  actions.

          WHEREFORE, Plaintiffs respectfully requests that this Court:

                    A.     Order that the Count X Defendants to pay such compensatory and

  consequential damages to Plaintiffs as are appropriate, plus interest and costs;

                    B.     Order that the Count X Defendants pay punitive damages to the

  Plaintiffs; and

                    C.     Award such other and further relief as is just and proper.

                                            COUNT XI
                                         Civil Conspiracy
                                      (Against All Defendants)

          151.      Plaintiffs repeat and restate the allegations in paragraphs 1-150 as if fully

  set forth herein.

          152.      All Defendants named in this Complaint (the Count XI Defendants) acted

  in concert and combination with a common design to defraud Plaintiffs, and steal and

  otherwise convert monies and other property belonging to Plaintiffs.

          153.      Defendants engaged in numerous acts and omissions in furtherance of that

  conspiracy, which include all the acts and omissions set forth in the Fact section of this

  Complaint and Counts I-X hereof.

          154.      As a direct and proximate result of the conspiratorial actions and

  omissions of the Count XI Defendants, Plaintiffs have suffered direct and consequential

  harm, including but not limited to hundreds of thousands of dollars in monetary losses,

  and damage to Plaintiff’s reputation and good will in the community and the industry.




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         155.       The wrongful actions of Defendant set forth herein constitute actual

  malice and/or malice implied. As a result, Plaintiffs are entitled to punitive damages in

  addition to compensatory and consequential damages arising from such wrongful actions.

         156.       As a result of their actions and omissions constituting civil conspiracy

  under Maine law, each of the Count XI Defendants is liable for the tortious conduct of

  each of the other Count XI Defendants, including but not limited to the tortious conduct

  described in Counts III-VI of this Complaint.

         WHEREFORE, Plaintiffs respectfully requests that this Court:

                    A.     Award such compensatory damages to Plaintiff as are appropriate,

  plus interest and costs;

                    B.     Order that the Count XI Defendants pay punitive damages to the

  Plaintiffs; and

                    C.     Award such other and further relief as is just and proper.

                                                  GRACIANO INC., JOSE GRACIANO,
                                                  and THAI LOUTS RESTAURANT,
                                                  Plaintiffs,

                                                  By their counsel,

  Dated: January 14, 2020                         /s/ John H. Branson

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